Case No. 1:21-cv-00387-CMA-NRN                      Document 1           filed 02/08/21       USDC Colorado        pg
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                                IN THE UNITED STATES DISTRICT COURT
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                                     FOR THE DISTRICT pF COLORADO
                                                                                                FILED
                                                                                          UNITED STATES
                                                                                              DENVER,c':!,fb~JgouRr
   Civil Action No.
                                        (To be supplied by the court)                          FEB ... 8 2021
                \                                                                        JEFFREY P. COLWELL
   -3JA:f lftJE G12if.fJu
   _    .................,........_i.,._____,,______._........,...._.________   ,Plaintiff-      ----      CLERK
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   V.


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       (List each named defendant on a separate line. Ifyou cannot fit the names of all defendants in
       the space provided, please write "see attached" in the space above and attach an additional
       sheet ofpaper with the full list of names. The names listed in the above caption must be
       identical to those contained in Section B. Do not include addresses here.)



                                             PRISONER COMPLAINT


                                                         NOTICE

   Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
   public access to electronic court files. Under this rule, papers filed with the court should not
   contain: an individual's full social security number or full birth date; the full name of a person
   known to be a minor; or a complete financial account number. A filing may include only: the
   last four digits of a social security number; the year of an individual's birth; a minor's initials;
   and the last four digits of a financial account number.

   Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
   materials to the Clerk's Office with this complaint.
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


                      Defendant No. 1
                                 Name
                                 Job or Title (if known)
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                                 City and County
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                                 State and Zip Code
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                                 Telephone Number                119 -.3qo - 5 5 55
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                      Defendant No. 2
                                 Name
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                                 Street Address
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                                 State and Zip Code              CnloRA-.l)a ~o9 Clio
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                      Defendant No. 3
                                 Name
                                 Job or Title (if known)
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                                 Street Address
                                                                J..'139 EAS1 LAS VEGAS
                                 City and County
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                                 Telephone Number
                                                               ~q 390 5555
                                 E-mail Address (if known)


                      Defendant No. 4
                                Name
                                Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)
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    Defendant 2:   ferE    CaREY futJOOLs~)a131 EBS{L&S \/EGl:\S
                    (Name, job title, and complete mailing address)

                    f.oViQboo 5PRLU{,.) C.ObAAOO ZOJO~
                   At the time the claim(s) in this coII1plaiil1.arose, was this defendant acting under
                   color of state or federal law? _t.__ Yes _II_ No (check one). Briefly explain:

                   PETE Ce:2EY Llli.ff.R,J;~ffi) LuMrffiN~ / l\1J lP6fk1J3 xi VIDb-b\
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                   Defendant 2 is being sued in his/her :i.._ individual and/or Xofficial capacity.


    Defendant 3:    Au.bwu       fket-HA {e,u 1i:-E) W.wretvU1 lnw Bl3lkrL=t..!i
                    (Name, job title, and complete mailing address)

                   v,dcJ·-id PlA,oh~ 1./.J~,¾-14 ~ 34 u.s~C~jo3rn-3o3o'i P.~,EA:.
                   At the time the claim(s) in this complaint arose, was this defendant acting under
                   color of state or federal law? _:i:- Yes_ No (check one). Briefly explain:

                   \t1o'ta¼d futitJufB ~, .&11-14 /Jt!ta..tJ 34 u.s,e..~soa,,
                    30~09 ?.~E.&.
                   Defendant 3 is being sued in his/her ..i,__ individual and/or .:J.__ official capacity.




  C.     JURISDICTION
  Indicate the federal legal basis for your claim(s): (check all that apply)

  .i_    42 U.S.C. § 1983 (state, county, and municipal defendants)

         Bivens v. Six Unknown Named Agents ofFed. Bureau of Narcotics, 403 U.S. 388 (1971)
         (federal defendants)

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         Other: (please identify) _____             .                1.t--------t--l- - - - - - - - - - - - -




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   D.      STATEMENT OF CLAIM(S)
   State clearly and concisely every claim that you are asserting in this action. For each claim,
   specify the right that allegedly has been violated and state all facts that support your claim,
   including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
   involved in each claim, and the specific facts that show how each person was involved in each
   claim. You do not need to cite specific legal cases to support your claim(s). If additional space
   is needed to describe any claim or to assert additional claims, use extra paper to continue that
   claim or to assert the additional claim(s). Please indicate that additional paper is attached and
   label the additional pages regarding the statement of claims as "D. STATEMENT OF CLAIMS."


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  E.     PREVIOUS LAWSUITS

  Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
  were incarcerated? ~Yes_ No (check one).

  Ifyour answer is "Yes, "complete this section of the form. Ifyou have filed more than one
  previous lawsuit, use additional paper to provide the requested information for each previous
  lawsuit. Please indicate that additional paper is attached and label the additional pages
  regarding previous lawsuits as "E. PREVIOUS LAWSUITS."

  Name(s) of defendant(s):
                                                           ~
  Docket number and court:                      , 1.g, t1s1i:1etratC UD-ev✓ mo1g ✓ 1ro
  Claims raised:                                 t>~ r\ f-Yw\Mtd ~irJ4.,.....J-
  Disposition: (is the case still pending?     ")\         /    fJr'u-v: /R II.(..,("';
  has it been dismissed?; was relief granted?) JJ\SM \SSE\\ N"Q K.,,t, \~ r l:J 8::NLE:b
  Reasons for dismissal, if dismissed:


  Result on appeal, if appealed:




  F.     ADMINISTRATIVE REMEDIES

   WARNING: Prisoners must exhaust administrative remedies before.filing an action in federal
  court regarding prison conditions. See 42 USC§ 1997e(a). Your case may be dismissed or
  judgment entered against you ifyou have not exhausted administrative remedies.

  Is there a formal grievance procedure at the institution in which you are confined?

         _LYes _No (check one)

  Did you exhaust administrative remedies?

         L.,Yes _No (check one)




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  G.      REQUEST FOR RELIEF
  State the reliefyou are requesting or what you want the court to do. If additional space is needed
  to identify the reliefyou are requesting, use extra paper to request relief Please indicate that
  additional paper is attached and label the additional pages regarding relief as "G. REQUEST
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   H.     PLAINTIFF'S SIGNATURE

   I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
   complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
   18 u.s.c. § 1621.

   Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best ofmy
   knowledge, information, and belief that this complaint: (1) is not being presented for an improper
   purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost oflitigation;
   (2) is supported by existing law or by a nonfrivolous argument for extending or modifying
   existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
   will likely have evidentiary support after a reasonable opportunity for further investigation or
   discovery; and (4) the com2 · otherwise complies with the requirements of Rule 11.




   (Form Revised December 2017)

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